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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

 STEVEN J. WILSON,                            )
                                              )
                               Plaintiff,     )
                                              )
 vs.                                          )     Case No. 17-cv-0239-MJR-DGW
                                              )
 JOSEPH L. DAVIS, and                         )
 WERNER ENTERPRISES, INC.,                    )
                                              )
                               Defendants.    )

                               JUDGMENT IN A CIVIL ACTION

 REAGAN, Chief Judge:

        Pursuant to the parties’ joint stipulation under Federal Rule of Civil Procedure

 41(a)(1)(A) (Doc. 23) and the Court’s Order acknowledging same (Doc. 24), this case has been

 dismissed with prejudice.

        IT IS SO ORDERED.

        DATED June 13, 2017

                                             JUSTINE FLANAGAN, Acting Clerk of Court
                                             s/ Reid Hermann
                                             Deputy Clerk




 Approved: s/ Michael J. Reagan
 Michael J. Reagan, U.S. District Judge




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